
209 P.3d 425 (2009)
228 Or. App. 748
STATE of Oregon, Plaintiff-Respondent,
v.
Rachel Beth PARRA, Defendant-Appellant.
C071812CR; A137569.
Court of Appeals of Oregon.
Submitted May 1, 2009.
Decided May 27, 2009.
Peter Gartlan, Chief Defender, and Carolyn Bys, Deputy Public Defender, Office of *426 Public Defense Services, filed the brief for appellant.
John R. Kroger, Attorney General, Jerome Lidz, Solicitor General, and Anna M. Joyce, Assistant Attorney General, filed the brief for respondent.
Before LANDAU, Presiding Judge, and SCHUMAN, Judge, and ORTEGA, Judge.
PER CURIAM.
Defendant appeals a judgment of conviction for possession of a Schedule II controlled substance. ORS 475.840(3)(b). She assigns error to the denial of her motion to suppress evidence obtained when a police officer retained her identification and asked for consent to search her after the initial basis for the stop had dissipated. The state concedes that, once the officer no longer had reasonable suspicion that defendant had engaged in criminal conduct, the retention of her identification created an unlawful seizure, and the request for consent to search was the product of that unlawful seizure. We agree with the parties that the trial court erred in denying the motion to suppress. See State v. Strader, 224 Or.App. 38, 43, 197 P.3d 40 (2008) (retaining identification after the time necessary to complete initial lawful stop is an unlawful seizure).
Reversed and remanded.
